 

Case 1:17-cv-01901-NBF Document1 Filed 12/06/17 Page 1 of 3

 

In the United States Court of Federal Clans

Cary Zoiman

 

 

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)

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Plaintiff(s), )

)

v. )
)

THE UNITED STATES,

~~ Defendant. mee
COMPLAINT

Your complaint must be clearly handwritten or typewritten, and you must sign and declare under
penalty of perjury that the facts are correct. If you need additional space, you may use another blank
page.

If you intend to proceed without the prepayment of filing fees (i forma pauperis (IFP)), pursuant to 28
U.S.C. § 1915, you must file along with your complaint an application to proceed IFP.

1. JURISDICTION. State the grounds for filing this case in the United States Court of Federal
Claims. The United States Court of Federal Claims has limited jurisdiction (see e.g., 28 U.S.C.
§§ 1491-1509).

The Internal Revenue Service (IRS) has placed a Federal Tax Lien of $706,538.79 on my
property (see exhibit B). The IRS did not and does not have jurisdiction to do so (see exhibit
A). | have a United States Tax Court order signed by the United States Tax Court stating the
IRS does not have jurisdiction in the years the lien is filed, (see exhibit A). | have been and still
am being damaged by the United States because the United States is still in contempt of court.

 
Case 1:17-cv-01901-NBF Document1 Filed 12/06/17 Page 2 of 3

 

 

 

 

2. PARTIES
Plaintife, Cary Zolman resides at008 Bear Creek Dr.
(Street Address}
Hurst, Texas 76054 713-409-2496
(City, State, ZIP Code} (Telephone Number)

If more than one plaintiff, provide the same information for each plaintiff below.

N/A

3. PREVIOUS LAWSUITS. Have you begun other lawsuits in state or federal court dealing with
the same or similar facts involved in this action? [V]¥es [ No

If yes, please list cases: 19-1116T

4, STATEMENT OF THE CLAIM. State as briefly as possible the facts of your case. Describe
how the United States is involved. You must state exactly what the United States did, or failed
to do, that has caused. you to initiate this legal action. Be as specific as possible and use
additional paper as necessary.

The United States is involved by not releasing the $706,538.79 lien after receiving the United
States Federal Tax Court Order. The United States is obligated to follow the United States Tax
Court order to remove any liens that was placed in error, or pay for damage that is being done
against the person that was innocent to the charges. The damages have been going on for
years. The United States has failed to remove this lien so | can not use my asset for anything
because the lien was and is placed against me and the IRS did not and still does not have
jurisdiction.

The United States is involved knowingly and mulishly and should be required to pay for nat
following the United States Tax Court Order. The United States must be held to a standard
that all people must be held to. The United States filed this tien after the United States Tax
Court signed the jurisdiction order. {tis the United States Claims Court's job to keep the United
States honest and must not allow the United States to damage people with out any remedy or
recourse of the people. The United State Claims Court must hold the United States to the laws
they write.

| am entitled to this judgment for the United States has damaged me and is stil! damaging me.
| am entitled to this judgment for the United States has broken the law and should have this
judgment rendered in my favor.
Case 1:17-cv-01901-NBF Document1 Filed 12/06/17 Page 3 of 3

5. RELIEF. Briefly state exactly what you want the court to do for you.

| want this court to give me relief by signing an order that gives me a judgment against the
United States in the amount of $706,538.79.

 

Signed this 25 day of November
. a (day) (month)

 

 
